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                                                                           Ex. 13N-3
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                                                                      Ex. 13O-1
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                                                                           Ex. 13P-1
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                                                                           Ex. 13P-2
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                                                                           Ex. 13P-4
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                                                                Ex. 13Q-1
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                                                                Ex. 13Q-2
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                                                                 x. 13Q-3
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Department
of                                                                                                                                                                                  Reference
Assessments                                                                                                                                                                         Links:
500 Fourth                                                                                                                                                                             King County Tax
Avenue,                                                                                                                                                                                Links
Suite ADM-                                                                                                                      ADVERTISEMENT
AS-0708,
Seattle, WA     New Search       Property Tax Bill   Map This Property    Glossary of Terms     Area Report   Print Property Detail                                                    Property Tax Advisor
98104
                                                                               PARCEL DATA                                                                                             Washington State
Office Hours:                                                                                                                                                                          Department of
Mon - Fri        Parcel                          202506-9028                            Jurisdiction                           SAMMAMISH                                               Revenue (External
8:30 a.m. to                                                                                                                                                                           link)
4:30 p.m.                                        COLLINS DAVID                          Levy Code                              2208
                 Name
                                                 MICHAEL+VANES
                                                                                        Property Type                          R
TEL: 206-
                                                 2841 EAST LAKE
                                                                                                                                                                                       Washington State
296-7300                                                                                Plat Block / Building Number                                                                   Board of Tax
                 Site Address                    SAMMAMISH PKWY NE
FAX: 206-                                                                               Plat Lot / Unit Number                                                                         Appeals (External
                                                 98074
296-5107                                                                                                                                                                               link)
TTY: 206-                                        047-001 (NE Appraisal                  Quarter-Section-Township-
                 Residential Area                                                                                              SW-20-25-6
296-7888                                         District)                              Range
                                                                                                                                                                                       Board of
Send us          Property Name                                                                                                                                                         Appeals/Equalization
mail            Legal Description
                 POR OF GOV LOT 2 IN SW 1/4 OF SECTION 20-25-06 & SHORELANDS ADJ DAF - BEG S 1/4 CORNER OF                                                                             Districts Report
                 SECTION 20 WHICH CORNER IS MARKED BY A CONCRETE MONUMENT FROM WHICH CORNER K C AERIAL
                 SURVEY MONUMENT J-285 BEARS S 86-12-40 W 591.42 FT AND FROM WHICH CORNER THE N/S CENTER LINE                                                                          iMap
                 OF SECTION 20 BEARS N 0-06-54 E TH N 32-16-31 W 2505.04 FT TO SE CORNER OF K C SHORT PLAT NO
                 R1277118 RECORDING NO 7901100957 WHICH PT BEARS S 0-16-35 E 569.54 FT FROM NE CORNER OF SAID
                                                                                                                                                                                       Recorder's Office
                 SHORT PLAT & WHICH PT IS REFERRED TO HEREINAFTER AS PT "A" TH S 0-16-35 E 307.32 FT TAP
                 REFERRED TO AS PT "B" TH N 0-16-35 W 307.32 FT TO SAID POINT "A" TH S 89-40-10 W 221.58 FT TH S 49-09-
                 51 W 3.66 FT TAP ON CURVE OF NELY MGN OF R/W OF BURLINGTON NORTHERN RR R/W WHICH PT THE                                                                               Scanned images of
                 TANGENT TO SAID CURVE BEARS S 40-50-09 E TH IN SELY DIRECTION ALONG SAID CURVE TO RGT RAD OF                                                                          surveys and other
                 2342.01 FT ARC DISTANCE OF 240 FT TH S 55-02-12 W 100 FT TAP ON CURVE OF SWLY MGN OF SAID R/W                                                                         map documents
                 WHICH PT THE TANGENT TO SAID CURVE BEARS S 34-57-48 E & POB TH IN SELY DIRECTION ALONG CURVE
                 OF SWLY MGN OF R/W TO RGT RAD OF 2242.01 FT ARC DISTANCE OF 132.63 FT TAP BEARING S 58-25-34 W                                                                     Notice mailing date:
                 102.88 FT FROM SAID POINT "B" TH S 58-25-34 W RADIALLY TO SAID CURVE TAP ON THE LINE OF                                                                            09/07/2017
                 NAVIGABILITY OF LAKE SAMMAMISH TH IN NWLY DIRECTION ALONG SAID LINE OF NAVIGABILITY TAP
                 BEARING S 55-02-12 W FROM POB TH N 55-02-12 E TO POB TGW UND 1/28TH INTEREST IN COMMON BEACH
                 AREA LY IN SLY 40 FT OF N 769.64 FT AS MEAS ALONG E LINE OF POR OF GOV LOT 2 LY WLY OF                                                             ADVERTISEMENT
                 BURLINGTON NORTHERN RR R/W & 2ND CLASS SHORELANDS ADJ SAID S 40 FT
                 PLat Block:
                 Plat Lot:



                                                                                LAND DATA


                 Highest & Best Use As If Vacant SINGLE FAMILY                          Percentage Unusable
                 Highest & Best Use As                                                  Unbuildable                            NO
                                                         PRESENT USE
                 Improved
                                                                                        Restrictive Size Shape                 NO
                                                         Single Family(Res
                 Present Use                                                            Zoning                                 R4
                                                         Use/Zone)
                                                                                        Water                                  WATER DISTRICT
                 Land SqFt                               7,261
                                                                                        Sewer/Septic                           PUBLIC
                 Acres                                   0.17
                                                                                        Road Access                            PUBLIC
                                                                                        Parking
                                                                                        Street Surface                         PAVED
                                                 Views                                                               Waterfront
                 Rainier                                                                Waterfront Location                    LAKE SAMM
                 Territorial                                                            Waterfront Footage                     126
                 Olympics                                                               Lot Depth Factor                       0
                 Cascades                                                               Waterfront Bank                        LOW
                 Seattle Skyline                                                        Tide/Shore
                 Puget Sound                                                            Waterfront Restricted Access
                 Lake Washington                                                        Waterfront Access Rights               NO
                 Lake Sammamish                          EXCELLENT                      Poor Quality                           NO
                 Lake/River/Creek                                                       Proximity Influence                    NO
                 Other View
                                             Designations                                                            Nuisances
                 Historic Site                                                          Topography
                 Current Use                             (none)                         Traffic Noise
                 Nbr Bldg Sites                                                         Airport Noise
                 Adjacent to Golf Fairway                NO                             Power Lines                            NO
                 Adjacent to Greenbelt                   NO                             Other Nuisances                        NO
                 Other Designation                       NO                                                           Problems
                 Deed Restrictions                       NO                             Water Problems                         NO
                 Development Rights Purchased NO                                        Transportation Concurrency             NO
                 Easements                               NO                             Other Problems                         NO
                 Native Growth Protection                                                                         Environmental
                                                         NO
                 Easement
                 DNR Lease                               NO                             Environmental                          NO



                                                                                                                   Information        Delineation Percentage
                                                                                        Environmental Type
                                                                                                                      Source            study      Affected




                                                                                                                                                                                                              Ex. 13V-1
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                                                                         HundredYrFloodPlain JURISDICTION N                    0
                                                                         ErosionHazard           JURISDICTION N                0
                                                                 BUILDING

    Building Number                   1
                                                                 Picture of Building 1
    Year Built                        1993
    Year Renovated                    0
    Stories                           2                           Floor plan of Building 1
    Living Units                      1
    Grade                             10 Very Good
    Grade Variant                     0
    Condition                         Average
    Basement Grade
    1st Floor                         2,450
    1/2 Floor                         0
    2nd Floor                         1,580
    Upper Floor                       0
    Finished Basement                 0
    Total Finished Area               4,030
    Total Basement                    0
    Basement Garage                   0
    Unfinished 1/2                    0
    Unfinished Full                   0
    AGLA                              4,030
    Attached Garage                   570
    Bedrooms                          3
    Full Baths                        2
    3/4 Baths                         0
    1/2 Baths                         1
    Heat Source                       Gas
    Heat System                       Forced Air
    Deck Area SqFt                    0
    Open Porch SqFt                   100
    Enclosed Porch SqFt               0
    Brick/Stone                       0
    Fireplace Single Story            0
    Fireplace Muilti Story            0
    Fireplace Free Standing           0
    Fireplace Additional              0
    AddnlCost                         0
    Obsolescence                      0
    Net Condition                     0
    Percentage Complete               0
    Daylight Basement
    View Utilization


   Accessory Of Building Number:           1
     Accessory Type             Picture            Description    SqFt     Grade      Eff Year   %   Value     Date Valued
    MISC IMP                                    Dock                                                 10000    10/20/2010


                                                           TAX ROLL HISTORY


                                                                                                             Taxable
                                               Appraised Appraised Appraised New     Taxable                         Taxable     Tax
                     Valued Tax Omit Levy                                                                     Imps
      Account                                    Land      Imps      Total   Dollars  Land                            Total     Value
                      Year Year Year Code                                                                     Value
                                               Value ($) Value ($) Value ($)   ($)   Value ($)                       Value ($) Reason
                                                                                                               ($)
    202506902800 2017        2018         2208 2,221,000    578,000       2,799,000    0         2,221,000 578,000 2,799,000
    202506902800 2016        2017         2187 2,136,000    585,000       2,721,000    0         2,136,000 585,000 2,721,000
    202506902800 2015        2016         2187 2,084,000    552,000       2,636,000    0         2,084,000 552,000 2,636,000
    202506902800 2014        2015         2187 1,993,000    530,000       2,523,000    0         1,993,000 530,000 2,523,000
    202506902800 2013        2014         2187 1,689,000    461,000       2,150,000    0         1,689,000 461,000 2,150,000
    202506902800 2012        2013         2187 1,563,000    353,000       1,916,000    0         1,563,000 353,000 1,916,000
    202506902800 2011        2012         2187 1,563,000    353,000       1,916,000    0         1,563,000 353,000 1,916,000
    202506902800 2010        2011         2184 1,245,000    690,000       1,935,000    0         1,245,000 690,000 1,935,000
    202506902800 2009        2010         2184 1,192,000    659,000       1,851,000    0         1,192,000 659,000 1,851,000
    202506902800 2008        2009         2184 1,403,000    782,000       2,185,000    0         1,403,000 782,000 2,185,000
    202506902800 2007        2008         2184 1,220,000    731,000       1,951,000    0         1,220,000 731,000 1,951,000
    202506902800 2006        2007         2184 1,017,000    700,000       1,717,000    0         1,017,000 700,000 1,717,000
    202506902800 2005        2006         2184 960,000      815,000       1,775,000    0         960,000     815,000 1,775,000
    202506902800 2004        2005         2184 568,000      857,000       1,425,000    0         568,000     857,000 1,425,000
    202506902800 2003        2004         2184 541,000      797,000       1,338,000    0         541,000     797,000 1,338,000
    202506902800 2002        2003         2184 541,000      797,000       1,338,000    0         541,000     797,000 1,338,000
    202506902800 2001        2002         2184 502,000      739,000       1,241,000    0         502,000     739,000 1,241,000
    202506902800 2000        2001         2184 0            0             0            0         474,000     626,000 1,100,000
    202506902800 1999        2000         2184 405,000      600,000       1,005,000    0         405,000     600,000 1,005,000
    202506902800 1998        1999         7279 419,000      304,000       723,000      0         419,000     304,000 723,000
    202506902800 1997        1998         7279 0            0             0            0         358,200     260,000 618,200
    202506902800 1996        1997         7279 0            0             0            0         358,200     260,000 618,200
    202506902800 1995        1996         7279 0            0             0            0         358,200     260,000 618,200
    202506902800 1994        1995         7279 0            0             0            0         358,200     281,300 639,500
    202506902800 1993        1994         7279 0            0             0            0         260,000     281,300 541,300




                                                                                                                                                        Ex. 13V-2
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              202506902800 1992          1993           7279 0              0               0                0          260,000    0           260,000
              202506902800 1990          1991           7279 0              0               0                0          250,000    0           250,000
              202506902800 1988          1989           7279 0              0               0                0          100,300    0           100,300
              202506902800 1986          1987           7279 0              0               0                0          81,000     0           81,000
              202506902800 1984          1985           7260 0              0               0                0          60,000     0           60,000
              202506902800 1982          1983           7260 0              0               0                0          60,000     0           60,000


                                                                           SALES HISTORY


              Excise         Recording           Document Sale                                                                                 Sale
                                                                        Seller Name                 Buyer Name               Instrument
              Number          Number               Date   Price                                                                               Reason
                                                                                                                Statutory
                                                                    KOBI'S CROSSING             COLLINS DAVID
              2717771 20150311000512 3/10/2015              $0.00
                                                                    LLC                         MICHAEL+VANESSA
                                                                                                                Warranty                    Other
                                                                                                                Deed
                                                                                                                             Statutory
                                                                    COLLINS DAVID   KOBI'S CROSSING
              2604395 20130509001647 5/3/2013               $0.00                                                            Warranty       Other
                                                                    MICHAEL+VANESSA LLC
                                                                                                                             Deed
                                                                                                                             Statutory
                                                                    COLLINS DAVID   KOBI'S CROSSING
              2541279 20120430001918 4/27/2012              $0.00                                                            Warranty       Other
                                                                    MICHAEL+VANESSA LLC
                                                                                                                             Deed
                                                                                                                Statutory
                                                                    KOBI'S CROSSING             COLLINS DAVID
              2578514 20121211001522 4/26/2012              $0.00                                               Warranty                    Other
                                                                    LLC                         MICHAEL+VANESSA
                                                                                                                Deed
                                                                                                COLLINS DAVID                Statutory
                                                                    KOBIS CROSSING
              2446758 20100621000294 6/17/2010              $0.00                               MICHAEL &                    Warranty       Other
                                                                    LLC
                                                                                                VANESSA                      Deed
                                                                                                                             Statutory
                                                                    COLLINS DAVID   KOBIS CROSSING
              2426166 20100121000963 1/20/2010              $0.00                                                            Warranty       Other
                                                                    MICHAEL+VANESSA LLC
                                                                                                                             Deed
                                                              COLLINS VANESSA                   COLLINS DAVID                Quit Claim
              1286068 199212282019           12/21/1992 $0.00                                                                               Settlement
                                                              F                                 M+VANESSA F                  Deed

                                                                           REVIEW HISTORY


              Tax Year Review Number Review Type Appealed Value Hearing Date Settlement Value Decision                                        Status
              2007         65234                 State Appeal $1,881,000         7/26/2007               $1,717,000            REVISE       Completed
              2007         0600152               Local Appeal $1,881,000         1/1/1900                $1,881,000            SUSTAIN Completed
              2006         0501538               Local Appeal $1,775,000         1/1/1900                $1,775,000            SUSTAIN Completed
              2001         57559                 State Appeal $0                 6/20/2002               $1,100,000            REVISE       Completed
              2001         0003570               Local Appeal $1,152,000         1/1/1900                $1,152,000            SUSTAIN Completed
              2000         9901847               Local Appeal $1,152,000         1/1/1900                $1,005,000            REVISE       Completed
              1996         9500359               Local Appeal $643,300           1/1/1900                $618,200              REVISE       Completed
              1993         9204289               Local Appeal $322,500           1/1/1900                $260,000              REVISE       Completed
              1987         8610497               Local Appeal $81,000            1/1/1900                $81,000               SUSTAIN Completed

                                                                           PERMIT HISTORY


                 Permit                Permit                                                   Permit               Issuing               Reviewed
                                                             Type         Issue Date
                 Number              Description                                                Value              Jurisdiction              Date
                                                        Accessory,
              B96A4161                                                    11/27/1996 $7,740
                                                        New

                                                                 HOME IMPROVEMENT EXEMPTION


                Exempt            Building       Received   Estimated         Estimated                   Begin       End                    Permit
                                                                                                                              Amount
                Number            Number           Date       Cost          Completion Date               Year        Year                 Jurisdiction
                                                                                                                                           KING
              9892            0              2/11/1997      $0            1/1/1900                       0          0         $0
                                                                                                                                           COUNTY



              New Search     Property Tax Bill     Map This Property    Glossary of Terms        Area Report       Print Property Detail




                                                                                                                                       ADVERTISEMENT

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                                                                                                                                                                                 Ex. 13V-3
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                                                                                   Ex. 13V-4
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Department
of                                                                                                                                                                               Reference
Assessments                                                                                                                                                                      Links:
500 Fourth                                                                                                                                                                          King County Taxing
Avenue,                                                                                                                                                                             Districts Codes and
Suite ADM-                                                                                                                       ADVERTISEMENT
                                                                                                                                                                                    Levies (.PDF)
AS-0708,
Seattle, WA     New Search     Property Tax Bill   Map This Property    Glossary of Terms      Area Report   Property Detail
98104                                                                                                                                                                               King County Tax
                                                                                                                                                                                    Links
Office Hours:
Mon - Fri                                                                        PARCEL
                                                                                                                                                                                    Property Tax Advisor
8:30 a.m. to     Parcel
4:30 p.m.               202506-9028
                 Number                                                                                                                                                             Washington State
TEL: 206-        Name        COLLINS DAVID MICHAEL+VANES                                                                                                                            Department of
296-7300                                                                                                                                                                            Revenue (External
                 Site
FAX: 206-                2841 EAST LAKE SAMMAMISH PKWY NE 98074                                                                                                                     link)
                 Address
296-5107
TTY: 206-                    POR OF GOV LOT 2 IN SW 1/4 OF SECTION 20-25-06 & SHORELANDS ADJ DAF - BEG S 1/4 CORNER
296-7888
                                                                                                                                                                                    Washington State
                             OF SECTION 20 WHICH CORNER IS MARKED BY A CONCRETE MONUMENT FROM WHICH CORNER
                             K C AERIAL SURVEY MONUMENT J-285 BEARS S 86-12-40 W 591.42 FT AND FROM WHICH CORNER                                                                    Board of Tax
Send us                      THE N/S CENTER LINE OF SECTION 20 BEARS N 0-06-54 E TH N 32-16-31 W 2505.04 FT TO SE                                                                   Appeals (External
mail                         CORNER OF K C SHORT PLAT NO R1277118 RECORDING NO 7901100957 WHICH PT BEARS S 0-16-                                                                    link)
                             35 E 569.54 FT FROM NE CORNER OF SAID SHORT PLAT & WHICH PT IS REFERRED TO
                             HEREINAFTER AS PT "A" TH S 0-16-35 E 307.32 FT TAP REFERRED TO AS PT "B" TH N 0-16-35 W                                                                Board of
                             307.32 FT TO SAID POINT "A" TH S 89-40-10 W 221.58 FT TH S 49-09-51 W 3.66 FT TAP ON CURVE OF                                                          Appeals/Equalization
                             NELY MGN OF R/W OF BURLINGTON NORTHERN RR R/W WHICH PT THE TANGENT TO SAID CURVE
                 Legal       BEARS S 40-50-09 E TH IN SELY DIRECTION ALONG SAID CURVE TO RGT RAD OF 2342.01 FT ARC
                             DISTANCE OF 240 FT TH S 55-02-12 W 100 FT TAP ON CURVE OF SWLY MGN OF SAID R/W WHICH                                                                   Districts Report
                             PT THE TANGENT TO SAID CURVE BEARS S 34-57-48 E & POB TH IN SELY DIRECTION ALONG
                             CURVE OF SWLY MGN OF R/W TO RGT RAD OF 2242.01 FT ARC DISTANCE OF 132.63 FT TAP                                                                        iMap
                             BEARING S 58-25-34 W 102.88 FT FROM SAID POINT "B" TH S 58-25-34 W RADIALLY TO SAID CURVE
                             TAP ON THE LINE OF NAVIGABILITY OF LAKE SAMMAMISH TH IN NWLY DIRECTION ALONG SAID                                                                      Recorder's Office
                             LINE OF NAVIGABILITY TAP BEARING S 55-02-12 W FROM POB TH N 55-02-12 E TO POB TGW UND
                             1/28TH INTEREST IN COMMON BEACH AREA LY IN SLY 40 FT OF N 769.64 FT AS MEAS ALONG E
                                                                                                                                                                                    Scanned images of
                             LINE OF POR OF GOV LOT 2 LY WLY OF BURLINGTON NORTHERN RR R/W & 2ND CLASS
                             SHORELANDS ADJ SAID S 40 FT                                                                                                                            surveys and other
                                                                                                                                                                                    map documents
                                                                               BUILDING 1
                                                                                                                                                                 ADVERTISEMENT
                                                                                                                                                                                 Notice mailing date:
                 Year Built                        1993
                                                                                                                                                                                 09/07/2017
                 Total Square Footage              4030
                 Number Of Bedrooms                3
                 Number Of Baths                   2.50
                 Grade                             10 Very Good
                 Condition                         Average
                 Lot Size                          7261
                 Views                             Yes
                 Waterfront                        LAKE SAMM

                                                                 TOTAL LEVY RATE DISTRIBUTION

                Tax Year: 2017         Levy Code: 2208         Total Levy Rate: $10.09707            Total Senior Rate: $6.73294




                                                                        38.48% Voter Approved


                Click here to see levy distribution comparison by year.

                                                                          TAX ROLL HISTORY

                  Valued      Tax      Appraised Land         Appraised Imps         Appraised         Taxable Land            Taxable Imps     Taxable
                   Year       Year        Value ($)              Value ($)            Total ($)          Value ($)               Value ($)      Total ($)
                 2017        2018    2,221,000               578,000               2,799,000         2,221,000           578,000              2,799,000
                 2016        2017    2,136,000               585,000               2,721,000         2,136,000           585,000              2,721,000
                 2015        2016    2,084,000               552,000               2,636,000         2,084,000           552,000              2,636,000
                 2014        2015    1,993,000               530,000               2,523,000         1,993,000           530,000              2,523,000
                 2013        2014    1,689,000               461,000               2,150,000         1,689,000           461,000              2,150,000
                 2012        2013    1,563,000               353,000               1,916,000         1,563,000           353,000              1,916,000
                 2011        2012    1,563,000               353,000               1,916,000         1,563,000           353,000              1,916,000
                 2010        2011    1,245,000               690,000               1,935,000         1,245,000           690,000              1,935,000
                 2009        2010    1,192,000               659,000               1,851,000         1,192,000           659,000              1,851,000
                 2008        2009    1,403,000               782,000               2,185,000         1,403,000           782,000              2,185,000




                                                                                                                                                                                                           Ex. 13V-5
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              2007      2008   1,220,000            731,000               1,951,000      1,220,000             731,000           1,951,000
              2006      2007   1,017,000            700,000               1,717,000      1,017,000             700,000           1,717,000
              2005      2006   960,000              815,000               1,775,000      960,000               815,000           1,775,000
              2004      2005   568,000              857,000               1,425,000      568,000               857,000           1,425,000
              2003      2004   541,000              797,000               1,338,000      541,000               797,000           1,338,000
              2002      2003   541,000              797,000               1,338,000      541,000               797,000           1,338,000
              2001      2002   502,000              739,000               1,241,000      502,000               739,000           1,241,000
              2000      2001   0                    0                     0              474,000               626,000           1,100,000
              1999      2000   405,000              600,000               1,005,000      405,000               600,000           1,005,000
              1998      1999   419,000              304,000               723,000        419,000               304,000           723,000
              1997      1998   0                    0                     0              358,200               260,000           618,200
              1996      1997   0                    0                     0              358,200               260,000           618,200
              1995      1996   0                    0                     0              358,200               260,000           618,200
              1994      1995   0                    0                     0              358,200               281,300           639,500
              1993      1994   0                    0                     0              260,000               281,300           541,300
              1992      1993   0                    0                     0              260,000               0                 260,000
              1990      1991   0                    0                     0              250,000               0                 250,000
              1988      1989   0                    0                     0              100,300               0                 100,300
              1986      1987   0                    0                     0              81,000                0                 81,000
              1984      1985   0                    0                     0              60,000                0                 60,000
              1982      1983   0                    0                     0              60,000                0                 60,000




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Department
of                                                                                                                                                                                      Reference
Assessments                                                                                                                                                                             Links:
500 Fourth                                                                                                                                                                                 King County Tax
Avenue,                                                                                                                                                                                    Links
Suite ADM-                                                                                                                         ADVERTISEMENT
AS-0708,
Seattle, WA     New Search       Property Tax Bill     Map This Property     Glossary of Terms   Area Report     Print Property Detail                                                     Property Tax Advisor
98104
                                                                                  PARCEL DATA                                                                                              Washington State
Office Hours:                                                                                                                                                                              Department of
Mon - Fri        Parcel                              202506-9030                             Jurisdiction                           SAMMAMISH                                              Revenue (External
8:30 a.m. to                                                                                                                                                                               link)
4:30 p.m.                                            AZELBY ROBERT &                         Levy Code                              2208
                 Name
                                                     MICHELE
                                                                                             Property Type                          R
TEL: 206-
                                                     3113 EAST LAKE
                                                                                                                                                                                           Washington State
296-7300         Site Address                                                                Plat Block / Building Number                                                                  Board of Tax
                                                     SAMMAMISH PKWY NE
FAX: 206-                                                                                    Plat Lot / Unit Number                                                                        Appeals (External
296-5107                                             047-001 (NE Appraisal                                                                                                                 link)
                 Residential Area
TTY: 206-                                            District)                               Quarter-Section-Township-
                                                                                                                                    SW-20-25-6
296-7888                                                                                     Range
                 Property Name                                                                                                                                                             Board of
Send us         Legal Description                                                                                                                                                          Appeals/Equalization
mail
                 2ND CL SH LDS & UPLANDS ADJ FOLG-BEG NE COR GL 2 IN SW 1/4 TH S ALG E LN 569.64 FT TH W 221.58 FT
                 TH SWLY AT R/A TO RR R/W 15.3 FT TO NELY MGN SD R/W TH NWLY ALG SD NELY MGN TO N LN SD GL TH E                                                                            Districts Report
                 TO BEG LESS NWLY 200 FT & SELY 579 FT AS MEAS ALG SWLY MGN SD R/W LESS POR LY NELY OF SWLY
                 MGN SD R/W                                                                                                                                                                iMap
                 PLat Block:
                 Plat Lot:
                                                                                                                                                                                           Recorder's Office

                                                                                                                                                                                           Scanned images of
                                                                                    LAND DATA                                                                                              surveys and other
                                                                                                                                                                                           map documents
                       Click the camera to see more pictures.
                                                                                                                                                                                        Notice mailing date:
                                                                                                                                                                                        09/07/2017
                 Highest & Best Use As If Vacant SINGLE FAMILY                               Percentage Unusable
                 Highest & Best Use As                                                       Unbuildable                            NO                                  ADVERTISEMENT
                                                          PRESENT USE
                 Improved
                                                                                             Restrictive Size Shape                 NO
                                                          Single Family(Res
                 Present Use                                                                 Zoning                                 R4
                                                          Use/Zone)
                                                                                             Water                                  WATER DISTRICT
                 Land SqFt                                8,639
                                                                                             Sewer/Septic                           PUBLIC
                 Acres                                    0.20
                                                                                             Road Access                            PUBLIC
                                                                                             Parking
                                                                                             Street Surface                         PAVED
                                                     Views                                                                Waterfront
                 Rainier                                                                     Waterfront Location                    LAKE SAMM
                 Territorial                                                                 Waterfront Footage                     104
                 Olympics                                                                    Lot Depth Factor                       0
                 Cascades                                                                    Waterfront Bank                        LOW
                 Seattle Skyline                                                             Tide/Shore
                 Puget Sound                                                                 Waterfront Restricted Access
                 Lake Washington                                                             Waterfront Access Rights               NO
                 Lake Sammamish                           EXCELLENT                          Poor Quality                           NO
                 Lake/River/Creek                                                            Proximity Influence                    NO
                 Other View
                                              Designations                                                                Nuisances
                 Historic Site                                                               Topography
                 Current Use                              (none)                             Traffic Noise
                 Nbr Bldg Sites                                                              Airport Noise
                 Adjacent to Golf Fairway                 NO                                 Power Lines                            NO
                 Adjacent to Greenbelt                    NO                                 Other Nuisances                        NO
                 Other Designation                        NO                                                               Problems
                 Deed Restrictions                        NO                                 Water Problems                         NO
                 Development Rights Purchased NO                                             Transportation Concurrency             NO
                 Easements                                NO                                 Other Problems                         NO
                 Native Growth Protection                                                                               Environmental
                                                          NO
                 Easement
                 DNR Lease                                NO                                 Environmental                          NO



                                                                                                                        Information       Delineation Percentage
                                                                                             Environmental Type
                                                                                                                           Source           study      Affected
                                                                                             HundredYrFloodPlain JURISDICTION N                      0
                                                                                     BUILDING

                 Building Number                           1                                Click the camera to see more pictures.
                 Year Built                                2008                       Picture of Building 1
                 Year Renovated                            0
                 Stories                                   2.5                              Click the camera to see more floor plans.
                 Living Units                              1
                                                                                      Floor plan of Building 1
                 Grade                                     12 Luxury




                                                                                                                                                                                                               Ex. 13W-1
Case 1:03-cv-00785-MBH                                               Document 244-22                                       Filed 02/02/18   Page 29 of 34



    Grade Variant                        0
    Condition                            Average
    Basement Grade
    1st Floor                            2,190
    1/2 Floor                            310
    2nd Floor                            2,510
    Upper Floor                          0
    Finished Basement                    0
    Total Finished Area                  5,010
    Total Basement                       0
    Basement Garage                      0
    Unfinished 1/2                       0
    Unfinished Full                      0
    AGLA                                 5,010
    Attached Garage                      740
    Bedrooms                             5
    Full Baths                           4
    3/4 Baths                            1
    1/2 Baths                            1
    Heat Source                          Electricity
    Heat System                          Heat Pump
    Deck Area SqFt                       250
    Open Porch SqFt                      300
    Enclosed Porch SqFt                  0
    Brick/Stone                          0
    Fireplace Single Story               3
    Fireplace Muilti Story               0
    Fireplace Free Standing              0
    Fireplace Additional                 0
    AddnlCost                            9000
    Obsolescence                         0
    Net Condition                        0
    Percentage Complete                  0
    Daylight Basement
    View Utilization


   Accessory Of Building Number:              1
     Accessory Type            Picture                 Description    SqFt       Grade   Eff Year    %   Value    Date Valued
    MISC IMP                                      Dock & Boat lift                                       13000   2/16/2017

    MISC IMP                                      Beach House                                            5000    8/22/2016
    MISC IMP                                      outdoor kitchen                                        6000    8/22/2016


                                                              TAX ROLL HISTORY


                                                  Appraised Appraised Appraised             New      Taxable Taxable Taxable         Tax
                     Valued Tax Omit Levy
      Account                                       Land      Imps      Total              Dollars    Land      Imps      Total     Value
                      Year Year Year Code
                                                  Value ($) Value ($) Value ($)              ($)     Value ($) Value ($) Value ($) Reason
    202506903006 2017        2018            2208 1,978,000     2,003,000    3,981,000   0           1,978,000 2,003,000 3,981,000
    202506903006 2016        2017            2187 1,865,000     1,954,000    3,819,000   0           1,865,000 1,954,000 3,819,000
    202506903006 2015        2016            2187 1,820,000     1,880,000    3,700,000   0           1,820,000 1,880,000 3,700,000
    202506903006 2014        2015            2187 1,740,000     1,802,000    3,542,000   0           1,740,000 1,802,000 3,542,000
    202506903006 2013        2014            2187 1,475,000     1,544,000    3,019,000   0           1,475,000 1,544,000 3,019,000
    202506903006 2012        2013            2187 1,365,000     1,325,000    2,690,000   0           1,365,000 1,325,000 2,690,000
    202506903006 2011        2012            2187 1,365,000     1,325,000    2,690,000   0           1,365,000 1,325,000 2,690,000
    202506903006 2010        2011            2184 1,269,000     2,264,000    3,533,000   0           1,269,000 2,264,000 3,533,000
    202506903006 2009        2010            2184 1,215,000     2,164,000    3,379,000   1,591,000 1,215,000 2,164,000 3,379,000
    202506903006 2008        2009            2184 1,430,000     967,000      2,397,000   897,000     1,430,000 967,000       2,397,000
    202506903006 2007        2008            2184 1,244,000     610,000      1,854,000   0           1,244,000 610,000       1,854,000
    202506903006 2006        2007            2184 1,037,000     595,000      1,632,000   0           1,037,000 595,000       1,632,000
    202506903006 2005        2006            2184 979,000       561,000      1,540,000   5           979,000     561,000     1,540,000
    202506903006 2004        2005            2184 583,000       624,000      1,207,000   0           583,000     624,000     1,207,000
    202506903006 2003        2004            2184 556,000       578,000      1,134,000   0           556,000     578,000     1,134,000
    202506903006 2002        2003            2184 556,000       578,000      1,134,000   0           556,000     578,000     1,134,000
    202506903006 2001        2002            2184 516,000       536,000      1,052,000   0           516,000     536,000     1,052,000
    202506903006 2000        2001            2184 487,000       503,000      990,000     0           487,000     503,000     990,000
    202506903006 1999        2000            7279 416,000       448,000      864,000     0           416,000     448,000     864,000
    202506903006 1998        1999            7279 558,000       188,000      746,000     0           558,000     188,000     746,000
    202506903006 1997        1998            7279 0             0            0           0           477,000     161,000     638,000
    202506903006 1996        1997            7279 0             0            0           0           477,400     161,100     638,500
    202506903006 1994        1995            7279 0             0            0           0           477,400     161,100     638,500
    202506903006 1993        1994            7279 0             0            0           0           440,000     198,500     638,500
    202506903006 1992        1993            7279 0             0            0           0           440,000     198,500     638,500
    202506903006 1990        1991            7279 0             0            0           0           414,000     153,900     567,900
    202506903006 1988        1989            7279 0             0            0           0           146,900     140,500     287,400
    202506903006 1986        1987            7279 0             0            0           0           104,400     83,900      188,300
    202506903006 1984        1985            7260 0             0            0           0           82,600      110,400     193,000
    202506903006 1982        1983            7260 0             0            0           0           82,600      110,400     193,000


                                                                SALES HISTORY




                                                                                                                                                            Ex. 13W-2
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              Excise         Recording           Document                                                                               Sale
                                                             Sale Price        Seller Name         Buyer Name          Instrument
              Number          Number               Date                                                                                Reason
                                                                          HENKEL ALAN                Statutory
                                                                                      AZELBY
              2775332 20160108000927 1/6/2016               $3,650,000.00 B+ELIZABETH
                                                                                      ROBERT+MICHELE
                                                                                                     Warranty                         None
                                                                          J                          Deed
                                                                          FREEDMAN                                     Statutory
                                                                                              HENKEL ALAN
              2220846 20060710001718 6/28/2006              $1,700,000.00 HOWARD                                       Warranty       None
                                                                                              B+ELIZABETH J
                                                                          L+PAMELA C                                   Deed
                                                                                          FREEDMAN
                                                                              LEWIS BARRY                              Warranty       Correction
              1186441 199104300653           10/10/1988 $0.00                             HOWARD
                                                                              G                                        Deed           (refiling)
                                                                                          L+PAMELA C


                                                                              REVIEW HISTORY


              Tax Year Review Number Review Type Appealed Value Hearing Date Settlement Value Decision                                 Status
              1993         9203364               Local Appeal $732,600            1/1/1900        $638,500              REVISE       Completed


                                                                              PERMIT HISTORY


                 Permit                                                            Issue        Permit         Issuing              Reviewed
                                     Permit Description                Type
                 Number                                                             Date        Value        Jurisdiction             Date
              BLD2007-         NSFR (New Single Family
                                                               Building, New 1/18/2008 $1,200,000 SAMMAMISH                        3/27/2009
              00732            Res)
              BLD2007-
                               Demolish existing SFR           Demolition        11/9/2007 $0              SAMMAMISH               5/19/2008
              01146
                                                               Accessory,
              *9812473         Pier restoration                                  9/15/1998 $8,000          KING COUNTY             10/18/2004
                                                               New
                                                               Accessory,
              B97A3538                                                           10/9/1997 $15,254
                                                               New

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of                                                                                                                                                                               Reference
Assessments                                                                                                                                                                      Links:
500 Fourth                                                                                                                                                                          King County Taxing
Avenue,                                                                                                                                                                             Districts Codes and
Suite ADM-                                                                                                                       ADVERTISEMENT
                                                                                                                                                                                    Levies (.PDF)
AS-0708,
Seattle, WA     New Search     Property Tax Bill   Map This Property    Glossary of Terms      Area Report   Property Detail
98104                                                                                                                                                                               King County Tax
                                                                                                                                                                                    Links
Office Hours:
Mon - Fri                                                                        PARCEL
                                                                                                                                                                                    Property Tax Advisor
8:30 a.m. to     Parcel
4:30 p.m.               202506-9030
                 Number                                                                                                                                                             Washington State
TEL: 206-        Name        AZELBY ROBERT & MICHELE                                                                                                                                Department of
296-7300                                                                                                                                                                            Revenue (External
                 Site
FAX: 206-                3113 EAST LAKE SAMMAMISH PKWY NE                                                                                                                           link)
                 Address
296-5107
TTY: 206-                    2ND CL SH LDS & UPLANDS ADJ FOLG-BEG NE COR GL 2 IN SW 1/4 TH S ALG E LN 569.64 FT TH W
296-7888
                                                                                                                                                                                    Washington State
                             221.58 FT TH SWLY AT R/A TO RR R/W 15.3 FT TO NELY MGN SD R/W TH NWLY ALG SD NELY MGN
                 Legal                                                                                                                                                              Board of Tax
                             TO N LN SD GL TH E TO BEG LESS NWLY 200 FT & SELY 579 FT AS MEAS ALG SWLY MGN SD R/W
Send us                      LESS POR LY NELY OF SWLY MGN SD R/W                                                                                                                    Appeals (External
mail                                                                                                                                                                                link)
                                                                               BUILDING 1
                 Year Built                         2008                                                                                                                            Board of
                                                                                                                                                                                    Appeals/Equalization
                 Total Square Footage               5010
                 Number Of Bedrooms                 5                                                                                                                               Districts Report
                 Number Of Baths                    5.25
                 Grade                              12 Luxury                                                                                                                       iMap

                 Condition                          Average
                                                                                                                                                                                    Recorder's Office
                 Lot Size                           8639
                 Views                              Yes                                                                                                                             Scanned images of
                                                                                                                                                                                    surveys and other
                 Waterfront                         LAKE SAMM                                                                                                                       map documents
                                                                 TOTAL LEVY RATE DISTRIBUTION                                                                    ADVERTISEMENT
                                                                                                                                                                                 Notice mailing date:
                                                                                                                                                                                 09/07/2017
                Tax Year: 2017         Levy Code: 2208          Total Levy Rate: $10.09707           Total Senior Rate: $6.73294




                                                                        38.48% Voter Approved


                Click here to see levy distribution comparison by year.

                                                                          TAX ROLL HISTORY

                  Valued      Tax      Appraised Land         Appraised Imps         Appraised         Taxable Land            Taxable Imps     Taxable
                   Year       Year        Value ($)              Value ($)            Total ($)          Value ($)               Value ($)      Total ($)
                 2017        2018    1,978,000              2,003,000              3,981,000         1,978,000           2,003,000            3,981,000
                 2016        2017    1,865,000              1,954,000              3,819,000         1,865,000           1,954,000            3,819,000
                 2015        2016    1,820,000              1,880,000              3,700,000         1,820,000           1,880,000            3,700,000
                 2014        2015    1,740,000              1,802,000              3,542,000         1,740,000           1,802,000            3,542,000
                 2013        2014    1,475,000              1,544,000              3,019,000         1,475,000           1,544,000            3,019,000
                 2012        2013    1,365,000              1,325,000              2,690,000         1,365,000           1,325,000            2,690,000
                 2011        2012    1,365,000              1,325,000              2,690,000         1,365,000           1,325,000            2,690,000
                 2010        2011    1,269,000              2,264,000              3,533,000         1,269,000           2,264,000            3,533,000
                 2009        2010    1,215,000              2,164,000              3,379,000         1,215,000           2,164,000            3,379,000
                 2008        2009    1,430,000              967,000                2,397,000         1,430,000           967,000              2,397,000
                 2007        2008    1,244,000              610,000                1,854,000         1,244,000           610,000              1,854,000
                 2006        2007    1,037,000              595,000                1,632,000         1,037,000           595,000              1,632,000
                 2005        2006    979,000                561,000                1,540,000         979,000             561,000              1,540,000
                 2004        2005    583,000                624,000                1,207,000         583,000             624,000              1,207,000
                 2003        2004    556,000                578,000                1,134,000         556,000             578,000              1,134,000
                 2002        2003    556,000                578,000                1,134,000         556,000             578,000              1,134,000
                 2001        2002    516,000                536,000                1,052,000         516,000             536,000              1,052,000
                 2000        2001    487,000                503,000                990,000           487,000             503,000              990,000
                 1999        2000    416,000                448,000                864,000           416,000             448,000              864,000
                 1998        1999    558,000                188,000                746,000           558,000             188,000              746,000




                                                                                                                                                                                                           Ex. 13W-4
   Case 1:03-cv-00785-MBH                                                Document 244-22                                 Filed 02/02/18        Page 32 of 34



              1997      1998   0                    0                     0            477,000               161,000           638,000
              1996      1997   0                    0                     0            477,400               161,100           638,500
              1994      1995   0                    0                     0            477,400               161,100           638,500
              1993      1994   0                    0                     0            440,000               198,500           638,500
              1992      1993   0                    0                     0            440,000               198,500           638,500
              1990      1991   0                    0                     0            414,000               153,900           567,900
              1988      1989   0                    0                     0            146,900               140,500           287,400
              1986      1987   0                    0                     0            104,400               83,900            188,300
              1984      1985   0                    0                     0            82,600                110,400           193,000
              1982      1983   0                    0                     0            82,600                110,400           193,000




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